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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA
                               PITTSBURGH DIVISION

 ANDREW VELICOFF,

                                 Plaintiff,                 Docket No: 2:17-cv-01013-MRH

                - against -

 SYNCHRONY BANK et al.,

                                Defendants.


                                STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties hereby

stipulate to the Plaintiff’s voluntary dismissal of his claims against Defendants GC SERVICES

LIMITED PARTNERSHIP and ENCORE RECEIVABLE MANAGEMENT, INC. in the above-

captioned matter, without prejudice. A proposed Order of Dismissal is annexed hereto as Exhibit A.

Dated:          June 26, 2018

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